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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 UNITED STATES,
      Plaintiff,

        v.                                             No. 3:18-cr-17-(VAB)-1

 ERNESTO LUIS DELGADO,
      Defendant.


   ORDER AMENDING RULING ON MOTION FOR COMPASSIONATE RELEASE

       The Court hereby amends its Ruling and Order, ECF No. 76, as to Ernesto Luis Delgado,

as follows:

       Mr. Delgado shall serve the entire term of his supervised release on home incarceration,

to be monitored by technology as determined at the discretion the U.S. Probation Office. Mr.

Delgado shall not be permitted to leave his home except for medical appointments or for any

required legal appearances, including but not limited to with the U.S. Probation Office. All other

conditions of supervised release from his April 25, 2019 judgment shall remain in effect.

       SO ORDERED at Bridgeport, Connecticut, this 18th day of May, 2020.

                                                              /s/ Victor A. Bolden
                                                            Victor A. Bolden
                                                            United States District Judge




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